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 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     STEVEN R. WELK
 4   Assistant United States Attorney
     Chief, Asset Forfeiture Section
 5   KATHARINE SCHONBACHLER
     California Bar No. 222875
 6   Assistant United States Attorney
     Asset Forfeiture Section
 7         Federal Courthouse, 14th Floor
           312 North Spring Street
 8         Los Angeles, California 90012
           Telephone: (213) 894-3172
 9         Facsimile: (213) 894-0142
           E-mail: Katie.Schonbachler@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA
12                             UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                    WESTERN DIVISION
15   UNITED STATES OF AMERICA,                      No. 2:20-CV-11712
16               Plaintiff,                         WARRANT
17               v.
18   391.5873617 IN BITCOIN, ONE 1974
     TRIUMPH COMMERCIAL VESSEL
19   AND ONE CALIFORNIA SQUID
     PERMIT,
20
                 Defendants.
21
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23
            TO: UNITED STATES MARSHALS SERVICE, CENTRAL DISTRICT OF
24
                  CALIFORNIA:
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            A Complaint for Forfeiture having been filed in this action,
26
     ///
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28
         Case 2:20-cv-11712 Document 3 Filed 12/29/20 Page 2 of 2 Page ID #:11




 1         IT IS ORDERED that you seize the defendants, 391.5873617 in Bitcoin, One
 2   1974 Triumph Commercial Vessel and One California Squid Permit, and cause the same
 3   to be detained in your custody, or in the custody of a Substitute Custodian, until further
 4   notice of the Court.
 5         YOU ARE FURTHER ORDERED to file this process in this Court with your

 6   return promptly after execution.

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           DATED: _______________________
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                                                   KIRY K. GRAY, Clerk
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                                                   Deputy Clerk
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